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 8                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
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10   IN RE: FACEBOOK, INC., CONSUMER PRIVACY MDL No. 2843
     USER PROFILE LITIGATION
11                                           Case No. 18-md-02843-VC

12                                                        [PROPOSED] ORDER GRANTING
     THIS DOCUMENT RELATES TO:
                                                          ADMINISTRATIVE MOTION TO
     ALL ACTIONS
13                                                        CONSIDER WHETHER CASES
                                                          SHOULD BE RELATED
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                                                          Judge: Hon. Vince Chhabria
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     CASE NO. 3:18-MD-02843-VC        [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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             Case 3:18-md-02843-VC Document 147-4 Filed 09/21/18 Page 2 of 2



 1           The Court, having considered Plaintiffs’ Administrative Motion to Consider Whether Cases

 2   Should Be Related, any responses thereto, and good cause appearing, HEREBY GRANTS the motion

 3   to relate cases.

 4           IT IS ORDERED that the following case is related to the MDL case, In re: Facebook, Inc.

 5   Consumer Privacy User Profile Litigation, No. 3:18-md-02843-VC, MDL No. 2843:

 6               1. McDonnell, et al. v. Facebook, Inc., No. 3:18-cv-05811 (N.D. Cal. Sept. 21, 2018).

 7           These actions concern substantially the same parties, property, transaction or event, and it appears

 8   likely that there will be an unduly burdensome duplication of labor or expense or conflicting results if

 9   the cases are conducted before different judges.
10           IT IS SO ORDERED.
11
     DATED: _________________________
12
                                                              THE HONORABLE VINCE CHHABRIA
13                                                            UNITED STATES DISTRICT COURT JUDGE
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      CASE NO. 3:18-MD-02843-VC           [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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